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                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

THE STATE OF GEORGIA,                 )
                                      )
                   Plaintiff,         )      Civil Action No. 1:23-cv-03621-SCJ
                                      )
             v.                       )
                                      )
MARK RANDALL MEADOWS,                 )
                                      )
                   Defendant.         )
                                      )


      NOTICE OF FILING ORIGINAL DEPOSITION TRANSCRIPT

      In accordance with the Instructions for Cases Assigned to the Honorable

Steve C. Jones, counsel for Plaintiff the State of Georgia hereby notifies Defendant

Mark Randall Meadows and files the deposition transcript of Cassidy Hutchinson

taken on March 7, 2022.

      Respectfully submitted this the 23rd day of August 2023.

                                       FANI T. WILLIS
                                       District Attorney
                                       Atlanta Judicial Circuit

                                       /s/ John W. “Will” Wooten
                                       JOHN W. “WILL” WOOTEN
                                       GA Bar Number 410684
                                       Deputy District Attorney
                                       Fulton County District Attorney’s Office
                                       136 Pryor Street SW
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                           Atlanta, GA 30303
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                      CERTIFICATE OF COMPLIANCE

      I certify that the document to which this certificate is attached has been

prepared with one of the font and point selections approved by the Court in LR

5.1B for documents prepared by computer.

      This the 23rd day of August 2023.

                                       /s/ John W. “Will” Wooten
                                       JOHN W. “WILL” WOOTEN
                                       Deputy District Attorney




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                         CERTIFICATE OF SERVICE

      I served this document today by filing it using the Court’s CM/ECF system,

which automatically notifies the parties and counsel of record.

      This the 23rd day of August 2023.

                                       /s/ John W. “Will” Wooten
                                       JOHN W. “WILL” WOOTEN
                                       Deputy District Attorney




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